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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

ROBERT H. BEVERLIN,
      Plaintiff,
v.                                                  Case No. 1:20-cv-178-AW-GRJ
L. PETERSEN, et al.,
     Defendants.
_______________________________/
           ORDER ADOPTING REPORT AND RECOMMENDATION

      Having carefully considered the magistrate judge’s September 25, 2020,

Report and Recommendation (ECF No. 8), to which there has been no objection, I

now determine the Report and Recommendation should be adopted. Plaintiff has not

stated a claim against Defendants Dr. R. Molina or Steven Wheeler. He has not

alleged direct involvement, and he has not alleged enough to sustain a § 1983 claim

based on supervisory liability.

      It is now ORDERED:

      1.     The Report and Recommendation (ECF No. 8) is adopted and

incorporated into this order.

      2.     The claims against Dr. R. Molina and Steven Wheeler are dismissed

without leave to amend for failure to state a claim for relief.

      3.     The matter will proceed against the remaining defendant, and the

magistrate judge will conduct further appropriate proceedings.

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SO ORDERED on November 8, 2020.

                             s/ Allen Winsor
                             United States District Judge




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